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                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION

    IN RE:                                         )
                                                   )           Case No. 3:19-bk-30822
    TAGNETICS INC.,                                )
                                                   )           Chapter 7 (Involuntary)
                          Alleged Debtor.          )
                                                   )           JUDGE GUY R. HUMPHREY


             ALLEGED DEBTOR’S MOTION FOR ENLARGEMENT OF TIME
                TO ANSWER INVOLUNTARY BANKRUPTCY PETITION

        Tagnetics Inc. (“Alleged Debtor”), by counsel, requests an extension of time to file its

answer to this involuntary Chapter 7 bankruptcy filing, pursuant to the provisions of Rule

9006(b)(1), Federal Rules of Bankruptcy Procedure and LBR 9013-1. In support of the Motion

the Alleged Debtor represents:

        1.     This case was commenced by the filing of an involuntary bankruptcy petition on

March 19, 2019. According to the Certificate of Service [D.E. 2]1 filed by the petitioning

creditors, summons and petition were served on a relative of an officer of the Alleged Debtor on

April 2, 2019. Therefore, an answer to the involuntary petition is due on or before April 23,

2019.

        2.     No order for relief has been entered.

        3.     Alleged Debtor reasonably requires an additional twenty-one (21) days to adequately

investigate this matter and answer or otherwise respond to the involuntary bankruptcy petition, as

described in more detail in paragraph 7 below.




1
 An earlier Summons was mailed to one of Alleged Debtor’s attorneys on March 29, 2019, but this clearly was not
effective service. Debtor reserves the right to assert all claims, defenses to the Petition.

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       4.      If the requested extension is granted, Alleged Debtor would have to and including

May 14, 2019 to answer or otherwise respond to the involuntary petition.

       5.       Rule 9006(b)(1), Federal Rules of Bankruptcy Procedure, governs the enlargement

of time and provides in relevant part that:

                …. when an act is required or allowed to be done at or within a specified
                period by these rules…, the court for cause shown may at any time in its
                discretion (1) with or without motion or notice order the period enlarged if
                the request therefor is made before the expiration of the period originally
                prescribed ….


       6.      This request for enlargement of time is not sought for the purpose of delay or for

any other improper purpose.

       7.      The petitioning creditors have not engaged counsel, but the individual petitioning

creditors have not yet consented to the relief requested herein.

       8.      Among other things, the Alleged Debtor needs to employ bankruptcy counsel and

investigate its defenses and claims, including:

               a. whether the claims of the petitioning creditors are even valid, since the first

                  time the Alleged Debtor learned of such claims was by receiving the petition;

               b. whether the petitioning creditors should be required to post a bond under 11

                  U.S.C. §303(c);

               c. whether abstention under 11 U.S.C. §305 is appropriate, given the facts of this

                  case; and

               d. whether the secured creditor(s) has an opinion regarding the best course of

                  conduct for the Alleged Debtor.




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       WHEREFORE, Alleged Debtor respectfully requests that the within Motion be granted

and that the deadline to answer or otherwise respond to the involuntary bankruptcy petition

herein be extended to and through May 14, 2019, and that the Court grant such other relief as is

appropriate. A proposed Order is submitted herewith for the convenience of the Court.

                                                    Respectfully submitted,

DATED: April 23, 2019

                                                    /s/ Robert R. Kracht
                                                    Robert R. Kracht (0025574)
                                                    MCCARTHY, LEBIT, CRYSTAL
                                                      & LIFFMAN CO., LPA
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                                 CERTIFICATE OF SERVICE
         I hereby certify that on April 23, 2019, a copy of the foregoing Alleged Debtor’s Motion
for Extension of Time to Answer Involuntary Bankruptcy Petition was filed electronically and
served via first-class, U.S. Mail, postage prepaid and properly addressed, upon the following
parties:

Tagnetics Inc.
3415 RT 36
Piqua, OH 45356

Kenneth W Kayser
PO Box 115
Catawba, VA 24070

Ronald E. Early
6429 Winding Tree Dr
New Carlise, OH 45344

Kayser Ventures Ltd
1872 Pratt Dr
Ste 1800
Blacksburg, VA 24060

Jonathan Hager
2170 River Oaks Drive
Salem, VA 24153

Robert Strain
427 Artell St
Marcengo, IL 60152

S-Tek Inc.
1100 Wayne St
Suite 5000
Troy, OH 45373

U.S. Trustee
Asst US Trustee (Day)
Office of the US Trustee
170 North High Street
Suite 200
Columbus, OH 43215-2417

                                                    /s/ Robert R. Kracht
                                                    Robert R. Kracht (#0025574)


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